Case 2:16-cv-14562-RLR Document 22 Entered on FLSD Docket 04/10/2017 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 2:16-cv-14562-ROSENBERG/LYNCH

SALVATORE SOFIA, on behalf of himself
and all others similarly situated,

       Plaintiff,

v.

SOLOMON, VIGH, P.A., a Florida
Professional Corporation and
MARVIN SOLOMON, individually,

      Defendants.
_________________________________________/

                  ORDER STAYING CASE AND DIRECTING THE CLERK
            OF THE COURT TO CLOSE THIS CASE FOR STATISTICAL PURPOSES
       This cause is before the Court on the Plaintiff’s Notice of Settlement. DE 21. The Court has
been informed that the parties have reached a settlement agreement. Having been informed that the
parties are in agreement and have resolved all disputes, it is hereby ORDERED AND ADJUDGED:
       1.      This case is STAYED.

       2.      All pending deadlines are TERMINATED.

       3.      The parties are instructed to file any appropriate pleadings related to the dismissal of this
               action within forty-five (45) days of the date of rendition of this Order.

       4.      Any party may move for the stay imposed by this Order to be lifted or for an extension of
               time to file appropriate pleadings related to the dismissal of this action.

       5.      All pending motions are DENIED AS MOOT.

       6.      The Clerk of the Court is directed to CLOSE THIS CASE FOR STATISTICAL
               PURPOSES; this closure shall not affect the merits of any party’s claim.

       DONE and ORDERED in Chambers, Fort Pierce, Florida, this 10th day of April, 2017.

                                                       _______________________________
                                                       ROBIN L. ROSENBERG
Copies furnished to Counsel of Record                  UNITED STATES DISTRICT JUDGE
